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                              UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF TEXAS
                                 CORPUS CHRISTI DIVISION

DAVID MCCAIG, et al,                              §
                                                  §
          Plaintiffs,                             §
VS.                                               § CIVIL ACTION NO. 2:11-CV-351
                                                  §
WELLS FARGO BANK (TEXAS), N.A.,                   §
                                                  §
          Defendant.                              §

                              ORDER ON MOTIONS FOR COSTS

         Before the Court are the parties’ respective motions for costs. Plaintiffs, David McCaig

and Marilyn McCaig (collectively the McCaigs), as prevailing parties, seek to recover expert

witness fees, court fees for filing and subpoenas, deposition transcripts and editing fees,

witness fees, and other miscellaneous expenses, some of which are sought on the basis that

Defendant, Wells Fargo Bank (Texas), N.A. (Wells Fargo) needlessly prolonged the litigation.

D.E. 294. Wells Fargo seeks reimbursement of its expert witness fees associated with expert

depositions as an allowable discovery expense. D.E. 296. For the reasons set out below, the

McCaigs’ Motion (D.E. 294) is GRANTED IN PART AND DENIED IN PART and Wells

Fargo’s Motion (D.E. 296) is GRANTED IN PART AND DENIED IN PART.

                     EXPERT WITNESS DISCOVERY—RULE 26(b)(4)(E)

         Under Fed. R. Civ. P. 26(b)(4)(E), each party has the obligation to pay reasonable fees

and expenses generated by experts responding to discovery. The rule states:

               Unless manifest injustice would result, the court must require that
               the party seeking discovery:

               (i)      Pay the expert a reasonable fee for time spent in responding
                        to discovery under rule 26(b)(4)(A) or (D); and
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               (ii)   For discovery under (D), also pay the other party a fair
                      portion of the fees and expenses it reasonably incurred in
                      obtaining the expert’s facts and opinions.

Pursuant to this rule, the McCaigs seek $4,000 in payment for the fee charged by Robert L.

Fordtran, M.D. (David McCaig’s treating physician) for his time being deposed and Wells

Fargo seeks $5,040 in combined fees for the depositions of Mr. Chip Morrow (Wells Fargo’s

expert on the banking industry) and Dale Faulkner, M.D. (Wells Fargo’s expert on medical

issues).

   A. Timeliness

         As a preliminary matter, the McCaigs contend that Wells Fargo’s request for these

deposition expenses is not timely. D.E. 297, p. 1. Under Local Rule 54 (which invokes Fed.

R. Civ. P. 54 and 28 U.S.C. § 1920), a request for costs is due within 14 days of the entry of

the final judgment. The Final Judgment in this case was entered December 30, 2013 (D.E.

293) and Wells Fargo’s request was filed January 10, 2014. The request, by this measure, is

timely.

         However, Wells Fargo’s request is not for costs as a prevailing party under Rule 54 but

is for a discovery expense under Fed. R. Civ. P. 26(b)(4)(E). Rule 26 does not contain a

deadline for seeking this expense. In fact, the McCaigs have not supplied any authority for a

particular Rule 26 deadline. In Hockerson-Halberstadt, Inc. v. Propet USA, Inc., 62 Fed.

Appx. 322, 335 (Fed. Cir. 2003), the Federal Circuit noted that the expert witness deposition

fee was not a “cost.” See also, Louisiana Power & Light Co. v. Kellstrom, 50 F.3d 319, 336

(5th Cir. 1995). However, when the Propet court reversed the denial of the request as “costs”

and remanded to the district court to enter a new order requiring payment outside the

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parameters of “costs,” the court did not suggest that the request, presumably post-judgment,

was untimely. In Kellstrom, the request appeared to be untimely under Rule 54, but was still

granted under Rule 26. Kellstrom, supra.

          The Court rejects the McCaigs’ complaint that Wells Fargo’s request for these

deposition expenses is untimely.

   B. Dr. Fordtran: Treating Physician as an Expert

          The matter of Dr. Fordtran’s fee was the subject of a previous motion (D.E. 183) and

response (D.E. 187). Wells Fargo argued then and now that it could not be compelled to pay

for Dr. Fordtran’s deposition fee because he was a treating physician. Wells Fargo complains

that Dr. Fordtran was deposed as a fact witness rather than as an expert. Fisher v. Ford Motor

Co., 178 F.R.D. 195, 197 (N.D. Ohio 1998). Even Fisher, however, noted that such physicians

could be compensated at a higher rate than the fact witness per diem when they are asked to

draw upon their expertise beyond the actual treatment of the party. Id. at 197-98 (collecting

cases).

          Dr. Fordtran’s statement sets his fee at a rate of $1,000 per hour. Wells Fargo cites

Haslett v. Texas Industries, Inc., No. 397-CV-2901D, 1999 WL 354227, *1 (N.D. Tex. May

20, 1999) for the proposition that a fee of $1,000 per hour is unreasonable. The Court notes

that Haslett also observed that “it is customary in this district and in area state courts for parties

to compensate physicians at a reasonable rate for giving depositions in cases in which they are

not parties.” Id. at *2.

          The McCaigs’ Sixth Supplemental Designation of Experts (D.E. 173) lists Dr. Fordtran

as a treating physician, but also notes that, as a medical expert, he is expected to testify as to

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opinions based on the doctor’s knowledge, education, experience, and treatment of other

similar patients. Nothing in Wells Fargo’s response to the McCaigs’ request indicates that the

deposition was limited to only fact issues rather than expert issues. Under Kellstrom, supra,

the deposition time of the expert witness is compensable and is to be paid by the deposing

party. Consequently, the Court will permit Dr. Fordtran to be compensated in a reasonable

amount not limited to the per diem fact witness limit of 28 U.S.C. § 1821.

   C. Dr. Fordtran: The Reasonable Rate for Expert Depositions

         There is no challenge to the four (4) hours reported by Dr. Fordtran. However, Wells

Fargo has challenged his requested rate of $1,000 per hour. Dr. Fordtran addressed the

reasonableness of the rate in an undated and unauthenticated letter. D.E. 294-2, p. 2. Wells

Fargo objects to that letter as hearsay and as unreliable expert testimony. D.E. 295, p. 4. The

McCaigs have not responded to these objections.           Neither have they supplemented their

evidence. The Court sustains the hearsay objection.

         The Court has the discretion to limit or alter expert deposition expenses if they appear to

be unreasonable. Knight v. Kirby Inland Marine Inc., 482 F.3d 347, 356 (5th Cir. 2007). The

McCaigs have not submitted evidence to support the extraordinary rate sought by Dr. Fordtran.

The Court considers that Wells Fargo’s medical expert has submitted his own request for

payment at $400 per hour, indicating that such a rate is a reasonable one. The Court ORDERS

Wells Fargo to pay Dr. Fordtran’s expenses in the sum of $1,600.00, representing four (4)

hours at the rate of $400 per hour.




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   D. Mr. Morrow

         Mr. Morrow’s invoice (D.E. 296-2) charges 7.6 hours at a rate of $400 per hour. The

McCaigs first assert a global objection that it is unreasonable. In particular, they complain of

an excessive amount of time spent preparing his report and conferring with Wells Fargo’s

counsel. However, the invoice does not appear to charge for any time spent preparing a report

or conferring with counsel. While the McCaigs claim that “huge gaps in logic and fact” in

Morrow’s report required his deposition, implying that it might otherwise have been

unnecessary, they do not elaborate on what those gaps were or how they required unnecessary

work.

         Because no evidence or explanation is offered to support the McCaigs’ specific

objection, it is overruled. The Court has reviewed Mr. Morrow’s invoice for reasonableness.

While time to prepare for, travel to, and sit for the deposition are hours that are compensable,

the Court is not aware of any requirement that the deposing party pay for the deponent to read

the deposition after it is taken. The Court also notes that the McCaigs’ witness did not charge

for reading his deposition. The Court exercises its discretion to reduce Mr. Morrow’s charges

by one hour. The Court ORDERS the McCaigs to pay Mr. Morrow’s expenses in the sum of

$2,640.00, representing 6.6 hours at the rate of $400 per hour.

   E. Dr. Faulkner

         Dr. Faulkner has submitted his invoice (D.E. 296-3) charging five (5) hours at the rate

of $400 per hour. Again, the McCaigs object in general terms that the invoice is unreasonable.

More specifically, however, they object because Dr. Faulkner admitted at his deposition that he

was not an expert in the field for which he was designated. D.E. 297, p. 2. According to Wells

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Fargo’s designation, “Wells Fargo’s retained medical expert [Dr. Faulkner] is expected to give

expert testimony regarding David McCaig’s medical condition and rebutting David McCaig’s

alleged mental anguish, stress, and heart ailments.” D.E. 218. In his deposition, Dr. Faulkner

denied being an expert on mental anguish or stress. D.E. 297, p. 2.

         The McCaigs argue that it works a manifest injustice when a party retains an expert

whose testimony is irrelevant or who is not qualified on the matter designated. The Court

agrees. It is imperative that expert designations accurately reflect the expertise at issue so that

opposing parties may determine whether, under all of the circumstances of the case, the

deposition of the expert is required to adequately prepare for trial.          Dr. Faulkner was

designated for three areas of expertise and had only one. Consequently, in the discretion of

this Court to reduce fees to a reasonable amount, the Court reduces Dr. Faulkner’s invoice to

one-third of its original amount and ORDERS the McCaigs to pay Dr. Faulkner’s expenses in

the amount of $666.67.

                               TAXABLE COSTS—RULE 54(d)(1)

         Under Federal Rule of Civil Procedure 54(d), costs—other than attorney’s fees—should

be granted to the prevailing party. Rule 54 affords the Court discretion to award taxable costs

according to the circumstances of the case and 28 U.S.C. § 1920 defines which costs are

“taxable costs.” Crawford Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 437, 440 (1987). The

statute reads:

                 A judge or clerk of any court of the United States may tax as costs
                 the following:

                 (1) Fees of the clerk and marshal;


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                (2) Fees for printed or electronically recorded transcripts
                necessarily obtained for use in the case;

                (3) Fees and disbursements for printing and witnesses;

                (4) Fees for exemplification and the costs of making copies of any
                materials where the copies are necessarily obtained for use in the
                case;

                (5) Docket fees under section 1923 of this title;

                (6) Compensation of court appointed experts, compensation of
                interpreters, and salaries, fees, expenses, and costs of special
                interpretation services under section 1828 of this title.

28 U.S.C. § 1920. The party who seeks to recover costs has the burden of producing evidence

properly documenting and establishing the costs incurred. Fogleman v. ARAMCO, 920 F.2d

278, 285–86 (5th Cir. 1991); Faculty Rights Coal. v. Shahrokhi, Civ. A. No. H-04-2127, 2005

WL 1924192, at *1 (S.D. Tex. Aug. 10, 2005). The district court has wide discretion to

determine whether the prevailing party is entitled to an award of costs for claimed expenses.

Migis v. Pearle Vision, Inc., 135 F.3d 1041, 1049 (5th Cir. 1998); Conoco, Inc. v. Energy &

Envtl. Int’l, L.C., Civ. A. No. H-01-4242, 2006 WL 734396, at *1 (S.D. Tex. Mar. 22, 2006).

   A. Court Fees

         It is clear that the Court’s filing fee, fee for service of process, and subpoena fees are

taxable costs. 28 U.S.C. § 1920(1). Wells Fargo has not stated any objection to those costs.

Wells Fargo is ORDERED to pay to the McCaigs the sum of $399.00 for the requested fees of

the clerk and marshal.

   B. Deposition Transcripts

         The prevailing party may recover the costs of deposition transcripts where they were

necessarily obtained for use in the case and not merely for the convenience of the attorneys.

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Newman v. A.E. Staley Mfg. Co., 648 F.2d 330, 337 (5th Cir. 1981). “Whether a deposition or

copy was necessarily obtained for use in the case is a factual determination to be made by the

district court.” Fogleman v. ARAMCO, 920 F.2d 278, 285 (5th Cir. 1991). It is generally

recognized that the basic costs of an original deposition transcript and one copy are taxable

against the non-prevailing party. See, e.g., WesternGeco L.L.C. v. ION Geophysical Corp., No.

4:09-cv-1827, 2013 WL 3148671, at *24 (S.D. Tex. June 19, 2013); Krohn v. David Powers

Homes, Inc., No. H 07 3885, 2009 WL 2605284, at *4 (S.D. Tex. Aug. 21, 2009).

         Wells Fargo has not objected to the McCaigs’ request to assess the deposition

transcripts as taxable costs. The only objection is to the amount stated for the transcript of the

deposition of Vaughn Westheimer. The McCaigs requested the amount due if the invoice were

paid after the due date. The Court agrees that the additional amount owed if paid late should

not be included in the taxable costs and the correct amount for the transcript of the deposition

of Vaughn Westheimer is $319.65. The Court finds that the following deposition transcript

expenses are taxable costs and ORDERS Wells Fargo to pay these amounts to the McCaigs:

               •   Michael Dolan transcript             $1,778.84
               •   Jennifer Demonde transcript            $854.45
               •   Ryan Bourgeois transcript              $798.39
               •   Chip Morrow transcript               $1,044.45
               •   Dale Faulkner, M.D. transcript        $449.65
               •   Robert Fordtran, M.D. transcript      $525.33
               •   Charles L. Williams transcript        $900.31
               •   Dr. Robert Rios transcript            $484.72
               •   Vaughn Westheimer transcript          $319.65




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   C. Deposition Videos

         Wells Fargo objects to the costs for videos in addition to the written transcripts

regarding the depositions of Michael Dolan, Chip Morrow, and Dr. Dale Faulkner, who did not

appear at trial by video. While a party may recover the cost for depositions in electronic

format under 28 U.S.C. § 1920, some courts in their discretion decline to tax the cost of a video

in addition to a written transcript unless the video is actually used at trial. E.g., Structural

Metals, Inc. v. S&C Electric Co., SA-09-CV-984-XR, 2013 WL 3790450 (W.D. Tex. July 19,

2013); HEI Res. E. OMG Joint Venture v. S. Lavon Evans, No. 5:07-CV-62, 2010 WL 536997

(S.D. Tex. February 10, 2010).

         By the same token, some courts will award the costs for both a written transcript and

video when considered appropriate trial preparation under the circumstances of the particular

case. E.g., Thabault v. Chait, 2009 WL 69332, *7 (D.N.J. January 7, 2009). The Thabault

court specifically observed that nothing in 28 U.S.C. § 1920 requires the introduction of the

video deposition into evidence at trial to consider it “used” at trial. Id. There, the length and

complexity of the trial justified the court’s award of the expense of all transcripts and videos

taken in the case as taxable costs.

         This Court is painfully aware of the contentious nature of the pretrial proceedings in this

case, including the manner in which depositions were taken. The Court understands the need

to have the video form of the depositions of Dolan and Morrow, who were key to the liability

issues in this case. Given that the McCaigs have admitted that the deposition of Dr. Faulkner

had limited usefulness because of his own testimony of a lack of expertise on the specific



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damages issues submitted to the jury, the Court exercises its discretion and declines to tax the

cost of Dr. Faulkner’s video.

          The Court ORDERS Wells Fargo to pay to the McCaigs the cost of the video

depositions of Michael Dolan in the amount of $194.85 and Chip Morrow in the amount of

$300.00. The Court further ORDERS Wells Fargo to pay the cost of the Jennifer Demonde

video, which was actually used at trial and to which Wells Fargo did not object, in the amount

of $559.48.

   D. Deposition Video Editing

          Wells Fargo contends that video editing is not considered a taxable cost under 28 U.S.C.

§ 1920, citing Johnson v. Bergh, 2009 WL 36421, *2 (E.D. Mo. January 6, 2009) and

Thabault, supra. While the Johnson opinion supports Wells Fargo’s position, the Thabault

opinion does not. In Thabault, the plaintiff was awarded editing costs for depositions that were

presented at trial. Thabault, supra at 12. That court, in a footnote, further suggested that such

costs could be taxable for depositions of witnesses who testified live because of the uncertainty

in predicting which witnesses would be available to appear live at trial. Id. n.6. Because the

plaintiff did not request those expenses for depositions of witnesses who appeared live, the

Thabault court did not have to decide the issue.

          Deposition expenses such as editing for presentation at trial may be taxable provided

they represent reasonable expenses necessary for the preparation of the trial rather than merely

for discovery or for the convenience of counsel. See, e.g., In re Scientific–Atlanta, Inc.

Securities Litigation, 2011 WL 2671296, at *1 (N.D. Ga. July 6, 2011); United States ex rel.

Gonzalez v. Fresenius Med. Care N. Am., 761 F. Supp. 2d 442, 450 n. 9 (W.D. Tex. 2010).

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What was “reasonably necessary trial use” is a question that can only be evaluated in the

context of the particular case, considering the importance of particular testimony.        E.g.,

Thabault, supra; Fresenius, supra.

          After considering the actual use of the video deposition testimony of Jennifer Demonde

and Ryan Bourgeois and the need for having the testimony of Michael Dolan readily available

to the McCaigs for use at trial, the Court ORDERS Wells Fargo to pay to the McCaigs the

costs of video editing for all three witnesses in the amount of $1,950.00.

   E. Witnesses and Printing

          A $40.00 per diem attendance fee and travel and subsistence expenses are awardable as

costs to witnesses who attend the trial for the time spent at the trial and for travel time. 28

U.S.C. §§ 1821, 1920(3). Wells Fargo has not objected to the McCaigs’ request for these fees

as taxable costs. The Court ORDERS Wells Fargo to pay to the McCaigs the amount of

$1,424.50 for those expenses.

   F. Copies

          Under 28 U.S.C. § 1920(4), fees associated with “making copies of any materials where

the copies are necessarily obtained for use in the case” are taxable costs. The McCaigs have

claimed charges for obtaining copies of documents through the PACER system. They do not

explain why they incurred any PACER charges and the Court takes judicial notice that, upon

email notice of the filing of any document, counsel and all registered users receiving the email

notice are entitled to access each document once at no charge. Wells Fargo asserts that such

charges were denied in Cashman Equip. Corp. v. Rozel Operating Co., No. 08-363-RET, 2011



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WL 2460943, *2 (M.D. La. June 17, 2011). Because the McCaigs have not demonstrated the

necessity of incurring PACER charges, those charges are DENIED.

          Wells Fargo has not objected to the charges incurred for retrieving copies of records

from the law firm of Barrett Daffin Frappier Turner & Engel. The Court ORDERS Wells

Fargo to pay to the McCaigs those copy costs in the amount of $437.65.

   G. Additional Matters

          Under the heading “Additional Matters,” the McCaigs seek recovery of expenses for

postage, CDs, and DVDs. They do not recite any authority for the Court to tax such expenses

as costs and they are set out separately from those expenses claimed under 28 U.S.C. § 1920.

Wells Fargo objects that miscellaneous expenses such as postage are not recoverable under 28

U.S.C. § 1920. See Cashman, supra; Halliburton Energy Services, Inc. v. M-I, LLC, 244

F.R.D. 369, 372 (E.D. Tex. 2007). The Court agrees. The expenses for these additional

matters are DENIED.

                         NONTAXABLE EXPENSES—RULE 54(d)(2)

          The McCaigs seek an award of nontaxable expenses as attorney’s fees under Fed. R.

Civ. P. 54(d)(2), arguing that Wells Fargo needlessly prolonged the litigation with multiple

motions, and other conduct that was essentially unfair.       Philadelphia Indem. Co. v. SSR

Hospitality, Inc., 459 Fed. Appx. 308, 318 (5th Cir. 2012). This is a matter committed to the

Court’s broad discretion. E.g., Castiblanco v. Wells Fargo Bank, N.A., No. H–12–473, 2013

WL 6079519, *2 (S.D. Tex. Nov. 19, 2013). The Court, fully aware of the manner in which

this case progressed to trial, declines to award nontaxable costs as attorney’s fees under Rule

54(d)(2).

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                                        CONCLUSION

          For the reasons set out above, the Court GRANTS IN PART AND DENIES IN PART

the McCaigs’ Motion for Costs (D.E. 294) and ORDERS Wells Fargo to pay to the McCaigs

the following amounts within 30 days of the date of this order:

               Expert discovery              $1,600.00
               Court fees                      $399.00
               Depositions                  $10,160.12
               Witnesses                     $1,424.50
               Copies                         $437.65

               Total:                       $14,021.27

The Court further GRANTS IN PART AND DENIES IN PART Wells Fargo’s Motion for

Costs (D.E. 296) and ORDERS the McCaigs to pay to Wells Fargo the following amount

within 30 days of the date of this order:

               Expert discovery              $3,306.67

ORDERED this 3rd day of February, 2014.


                                                ___________________________________
                                                NELVA GONZALES RAMOS
                                                UNITED STATES DISTRICT JUDGE




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